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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION


In Re:                                                        Case No. 18-14622-EPK
                                                              Chapter 11

THE TREATMENT CENTER OF THE PALM BEACHES, LLC

      Debtor.
___________________________________/
                    DEBTOR-IN-POSSESSION APPLICATION
                      FOR EMPLOYMENT OF ATTORNEY
                   NUNC PRO TUNC TO DATE OF PETITION

         THE TREATMENT CENTER OF THE PALM BEACHES, LLC., Debtor and Debtor-
in-Possession (“The Treatment Center”), through Manager, Judi Gargiulo, respectfully requests
an order of the court authorizing the employment of ROBERT C. FURR, ESQ. and the law firm
of FURR AND COHEN, P.A., nunc pro tunc to the date of the Chapter 11 Petitions, April 19,
2018, to represent the Debtor in this case and states:
         1.     On April 19, 2018, The Treatment Center of the Palm Beaches, LLC., filed a

voluntary petition under chapter 11 of the United States Bankruptcy Code under Case No. 18-

14622-EPK.

         2.     The Debtor desires to employ ROBERT C. FURR, ESQ. and the firm of FURR

AND COHEN, P.A., (the “Attorney”) 2255 Glades Road, Suite 301E, Boca Raton, FL 33431,

telephone (561)395-0500, as attorneys in this Chapter 11 case.

         3.     The Debtor believes that the Attorney is qualified to practice in this court and is

qualified to advise the debtor on its relations with, and responsibilities to, the creditors and other

interested parties.

         4.     The professional services the attorney will render are summarized as follows:

         (a)    To give advice to the Debtor with respect to its powers and duties as a debtor-in-
possession and the continued management of its business operations;

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